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IN THE UNITED STATES DISTRICT COURT h““°nqv
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WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 05-20075~Ma

RITA WILLIAMSON,
RONALD HUGHES,
MARIO PARSON,

`._/\._.4~._/`._,4\-._/-._¢-._¢--._/-._#~._¢-._#

Defendants.

 

OR.DER. ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

11.4

IT IS SO ORDERED this day of August, 2005.

JAWM`,

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

 

This docl_mant entered on the docket sheet In comp§nce
with Rule 55 and/or 32(b\ FHCrP on

 

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Honorable Samuel Mays
US DISTRICT COURT

